       Case 7:22-cv-00126 Document 1 Filed on 04/18/22 in TXSD Page 1 of 23




                       IN THE UNITED STATES DISTMCT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                McALLEN DIVISION


JOSE GARZA                                      §
       Plaintiff,                               §
                                                § CIVIL ACTION NO.
vs.                                             §
                                                §
PETRI, LLC,                                     §
    Defendant.                                  §

                                  NOTICE OF REMOVAL


TO THE HONORABLE UNITED STATES DISTRICT JUDGE:


       COME NOW, PETRI, LLC, Defendant in the above entitled and numbered cause, and,

and files this their Notice of Removal of the present cause from the County Court at Law No. 9

of Hidalgo County, Texas, in which it is now pending, to the United States District Court for the

Southern District of Texas, McAllen Division, showing the Court as follows:

       1. This cause was commenced in the County Court at Law No. 9 of Hidalgo County,

 Texas on March 24, 2022, when Plaintiffs Original Petition was filed in Cause Number

CL-22-0951-I. Copies of Plaintiff s Original Petition is attached hereto and incorporated herein

for all purposes to this Notice of Removal.

       2. Defendant Petri, LLC was served with a copy of Plaintiffs Original Petition by

serving CT Corporation on March 25, 2022. A copy of the Service of Process Transmittal from

CT Corporation indicating the date of service Defendant was served is attached and incorporated

herein for all purposes.



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        3. This is a civil action for damages and injuries allegedly incurred by Plaintiff as a

result of a work-related accident which occurred on or about March 16, 2020 in Pharr, Hidalgo

County, Texas while in the course and scope of his employment with Petri, LLC.

        Plaintiff alleges a cause of action for worker's compensation retaliation against
Defendant Petri, LLC.

        4. Plaintiff alleged in Plaintiffs Original Petition that he is a resident of Hidalgo

County, Texas. Plaintiff is therefore citizens of Texas.

        5. Plaintiff alleged in Plaintiffs Original Petition that Defendant Petri, LLC is a foreign

limited liability company organed under the laws of the state of Louisiana and doing business in

the State of Texas. Its' principal office is located at 1405 Commercial Drive, Port Alien,

Louisiana 70767.

        7. Defendant Petri, LLC is entitled to removal since there is complete diversity

jurisdiction in this case under 28 U.S.C. § 1332(a) since the Plaintiff is not a citizen of the same

state in which the Defendant was either incorporated in or the state in which it has its principle

place of business. Safeco Ins. Co. v. City of White House, 36 F.3d 540, 545 (6th Cir. 1994);

Gettv Oil Corn v. Insurance Co. of N. Am.; 841 F.2d 1254, 1258 f5th Cir. 1988); In re First Nat'I

Bank 70 F.3d 1184, 1188 d 1th Cir. 1995); Indiana Hi-Rail Corp v. Decatur Junction Rv. 37
F.3d 363, 365 n.3 (7th Cir. 1994).

       8. For the purposes of federal removal jurisdiction pursuant to 28 U.S.C. § 1441,

complete diversity of citizenship existed at the time this lawsuit was filed and now exists

between the adverse parties in the present cause.

       9. Defendant Petri, LLC would show the Court that the amount in controversy exceeds

$75,000.00, exclusive of interest of costs.

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         10. Upon filing of this Notice of Removal of this cause, written notice of the filing by

Defendant to Plaintiff and his counsel has been provided as required by law. A copy of this

notice is also being filed with the Clerk of the State Court in which this cause was originally

filed.

         11. This Notice of Removal is timely filed in accordance with 28 U.S.C. § 1446(b), in

that it is filed within thirty (30) days of service of Plaintiffs Original Petition on Defendant

Petri, LLC and within one year of the initial filing of the lawsuit.

         12. Defendant Petri, LLC hereby requests a trial by jury.

         WHEREFORE, PREMISES CONSIDERED, Defendant prays for removal of the above

entitled and numbered cause from the County Court at Law No. 9 of Hidalgo County, Texas to

this Honorable Court.

                                              Respectfully submitted,

                                              ROEMG, OLIVEIRA & FISHER, L.L.P.
                                              855 W. Price Road, Suite 9
                                              Brownsville, Texas 78520
                                              TEL/ (956) 542-5666
                                              FAX/(956) 542-0016

                                              By:        _/s/_D,_Alan Erwin, Jr.
                                                     D. ALAN ERWIN, JR.
                                                     State Bar No. 06653020
                                                     Federal I.D. No. 20471
                                                      Email: aerwin(a)jofllp.com
                                                     RANDALL GOMEZ
                                                     Texas State Bar No. 24087599
                                                     Federal I.D. No. 3307537
                                                      Email: rgomez(a),rofllp.com
                                                     JOHN DANIEL "J.D." VELA
                                                     Texas State Bar No. 24096635
                                                     Federal I.D. No. 3307542
                                                     Email: jdvela(%rofllp.com
                                                     Email: nancvg(a)jofllD.com
                                                     ATTORNEY FOR DEFENDANT

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                               CERTIFICATE OF SERVICE


       I hereby certify that on the 18th day of April , 2022, a true and correct copy of
the Notice of Removal has been electronically filed via CMECF and forwarded to all counsel of
record in accordance with the Federal Rules of Civil Procedure.

                                       Sergio S. Garza
                                  Email: office(a>sereio.law
                     THE SERGIO S. GARZA LAW FIRM, P.L.L.C.
                            809 E. Esperanza Ave., Suite A
                                    McAllen, Texas 78501

                                                     /s/ D. Alan Erwin, Jr.
                                                  D. ALAN ERWIN, JR.
                                                   Attorney at Law




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                                             VERIFICATION

THE STATE OF TEXAS §
                                 §
COUNTY OF CAMERON §

     BEFORE ME, the undersigned authority on this day personally appeared D. ALAN
ERWIN, JR. who being by me duly sworn, on his oath deposed as follows:

      1.      I am the attorney for PETRI, LLC, the Defendant in the above referenced cause.

     2.       I am fully authorized and competent to make this Affidavit.

     3.       I am familiar with the contents of the above, and to the ^sTSFmy knowledge, the
              factual statements set out in the foregoipg^Totic^f Removal are tme and correct.

                                                     Cj$ <^^
                                                      D. ALAN ERWIN, JR.

     SUBSCRIBED AND SWORN TO BEFORE ME on this the                            18th day of
 April ,2022.


                                                   ^1^?^         c.^^/^       ^z-
    S ^^^ NANCY C GONZALEZ                          NOTARY P^LIC, ST^EO^-f^X^S^      ,XAS^
    ^J—^Ss^.^ Notary Public. Stale of Tens                                           i—»^

              y Notary IDft 42287&.3
              'My Commission ExDires 3-21-21^;




                                                 Page 5
                    Case 7:22-cv-00126 Document 1 Filed on 04/18/22 in TXSD Page 6 of 23
 Skip to Main Content Logout My Account Search Menu New Civil Searvh Refine Search Back                                        Locauor1. All Courts Images
                                                             REGISTER OF ACTIONS
                                                                 CASE No. CL-22-0951-I

Jose Garza VS. Petri, LLC                                                    §                               Case Type: Injury or Damage - Other (OCA)
                                                                             §                               Date Filed: 03/24/2022
                                                                             §                                Location: County Court at Law #9
                                                                             §
                                                                             §

                                                                     PARTY INFORMATION

                                                                                                                             Attorneys
Defendant Petri, LLC


Plaintiff Garza, Jose                                                                                                        SERGIO S GARZA
                                                                                                                              Retained
                                                                                                                             956-354-1924(W)

                                                                EVENTS & ORDERS OF THE COURT

           OTHER EVENTS AND HEARINGS
03/24/2022 Original Petition (OCA)
            Plaintiff's Original Petition
03/25/2022 Citation Issued
            PETRI, LLC
03/28/2022 Service Returned -Served
            PE7-R//V, LLC SERVED 03/25/2022

                                                                   FINANCIAL INFORMATION




           Plaintiff Garza, Jose
           Total Financial Assessment                                                                                                               358.00
           Total Payments and Credits                                                                                                               358.00
           Balance Due as of 04/14/2022                                                                                                               0.00
03/24/2022 Transaction Assessment                                                                                                                   358.00
03/24/2022 EFile Payments from TexFile Receipt #2022-003498                                    Garza, Jose                                         (221.00)
03/24/2022 State Credit                                                                                                                            (137.00)
     Case 7:22-cv-00126 Document 1 Filed on 04/18/22 in TXSD Page 7 of 23
                                                                                   Electronically Submitted
                                                                                       3/24/2022 4:05 PM
                                                                                    Hidalgo County Clerk
                                                                             Accepted by: Gregorio Mata
                                    CL-22-0951-1
                           CAUSE NO.

Jose Garza                               §           In the County Court
      Plaintiff,                         §
                                         §
V.                                       §           at Law No. _ of
                                         §
Petrin, LLC,                             §
       Defendant.                        §           Hidalgo County, Texas

                             Plaintiffs Orieinal Petition

TO THE HONORABLE JUDGE OF SAID COURT:
      NOW COMES JOSE GARZA and files this his Plaintiffs Original Petition

complaining of and about PETRIN, LLC, and, for cause of action, would show the

following:

                              I. Discovery Control Plan

      Discovery is intended to be conducted under Level 2 as set forth at Rule 190.4

of the Texas Rules of Civil Procedure.


                                     II. Parties

      Plaintiff, Jose Garza, is an individual residing in Hidalgo County, Texas.

      Defendant, Petrin, LLC, is a foreign limited liability company organized

under the laws of the state of Louisiana and doing business in the state of Texas. Its

principal office is located at 1405 Commercial Drive, Port Alien, Louisiana, 70767.

It may be served with process in Texas by serving its registered agent, CT

Corporation System, at 1999 Bryan St. Suite 900, Dallas, Texas, 75201.




                                     Page 1 of 5
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                                                                                   Electronically Submitted
                                                                                       3/24/2022 4:05 PM
                                 CL-22-0951-1                                        Hidalgo County Clerk
                                                                              Accepted by: Gregorio Mata


                              III. Jurisdiction and Venue


       The damages sought are within the jurisdictional limits of the Court. Plaintiff

seeks monetary relief in the alternative as set forth at Rule 47(c)(l)-(5) of the Texas

Rules of Civil Procedure. Plaintiff further demands judgment for all other relief to

which he deems himself entitled.


       Venue is proper in Hidalgo County, Texas, under Section 15.002(a)(l) of the

Texas Civil Practice & Remedies Code in that all or a substantial part of the events

or omissions giving rise to the claims occurred in Hidalgo County, Texas. See Tex.

Civ. Prac. & Rem. Code Ann. § 15.002.

                               TV. General Allegations

      Defendant, PETRI, LLC, ("PETRI") has been a subscriber of worker's

compensation insurance at all times material to this action.

      At all times relevant to this suit, Plaintiff, JOSE GAEZA ("JOSE"), was

employed by PETRI.

      Throughout JOSE'S employment with PETRI, JOSE was a good employee who

did not receive any disciplinary actions whatsoever. He never received a warning,

oral or written, a suspension, nor was he ever demoted.

      JOSE began working for PETRI on or about March 7, 2020. He began working

as a scaffold builder in the day shift, after he was recruited, and/or applied, from his

residence in Pharr, Hidalgo County, Texas.

      On or about March 16, 2020, JOSE was moved to the night shift.

                                     Page 2 of 5
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                                                                                  Electronically Submitted
                                                                                      3/24/2022 4:05 PM
                                   CL-22-0951-1                                     Hidalgo County Clerk
                                                                             Accepted by: Gregorio Mata


       On the first day working the night shift, JOSE was ordered by a supervisor to

enter a large, empty vessel in order to build a structure for a welder who had to weld

inside the said vessel. It was nighttime, and the inside of the vessel was poorly lit.

The base of the vessel was not fully covered by any type of flooring. There was an

uneven ground.

       While working on erecting the scaffold, or structure, JOSE slipped on mud and

water that had accumulated at the bottom of the vessel. He fell hard on his side,

suffering injury.

      JOSE was on the ground for about an hour because his co-workers and

supervisors did not know how to get JOSE out of the vessel. Eventually, one of the

plant operators working that shift—(not an employee of PETRI)—called an

ambulance, and JOSE was taken to a nearby hospital. Thereafter, after being

treated/examined by medical professionals, JOSE was given a ride back home by a

local police officer—after nobody from PETRI was there to take JOSE back.

      A workers' compensation claim was filed.

      JOSE was treated by a physician, and, initially, JOSE was only able to return

to work on light duty. At some point, he was told by a supervisor to "go home" if could

not do the work.

      On JVIarch 27, 2020, JOSE'S medical restrictions were lifted, and he was able

to fully return to work. Upon arriving at work, JOSE s employment was immediately

terminated. As a result of his sudden employment termination, JOSE suffered

damages.

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                                                                                  Electronically Submitted
                                                                                      3/24/2022 4:05 PM
                                  CL-22-0951-1                                        Hidalgo County Clerk
                                                                             Accepted by: Gregorio Mata

                                       V. Claims


       Under Rule 48 of the Texas Rules of Civil Procedure, the following claims are

alleged jointly and/or alternatively, with consistent and/or inconsistent facts and

remedies. The claims are as follows:


Workers' Compensation RetaUatioii


      JOSE GAEZA incorporates the allegations contained in section IV. above as if

fully set forth herein.

      PETRI, LLC violated Section 451.001 of the Texas Labor Code by discharging

JOSE because he notified his employer of his on-the-job injury and/or because he

initiated the filing of a worker's compensation claim in good faith. Any other reason

given by PETRI for JOSE'S discharge is a mere pretext. JOSE suffered damages as a
result of such violation.

      JOSE seeks the maximum damages allowed by Section 451.002 of the Texas

Labor Code and at common law.

      JOSE'S injuries resulted from PETRI's fraud and/or malice as set forth in

Chapter 41 of the Texas Civil Practice & Remedies Code. See Tex. Civ. Prac. & Rem.

Code § 41.001, et seq. Accordingly, JOSE is entitled to an award of exemplary

damages in accordance with Texas law.

                                 VI. Jury Demand

      JOSE demands a trial by jury and hereby tenders the appropriate fee.



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                                                                                  Electronically Submitted
                                                                                       3/24/2022 4:05 PM
                                CL-22-0951-1                                        Hidalgo County Clerk
                                                                            Accepted by: Gregorio Mata


                                     VII. Prayer


      WHEREFORE, PREMISES CONSIDERED, Plaintiff, JOSE GARZA,

respectfully prays that Defendant, PETRI, LLC, be cited to appear and answer, and

that, upon final hearing, Plaintiff have final judgment against Defendant for the

following relief:

      a) All reasonable damages;

      b) Lost earnings and employee benefits in the past, as well as lost earning
          and employee benefits that, in reasonable probability, will be lost in the
          future;

      c) Compensatory damages, past and future (which may include emotional
         pain and suffering, inconvenience, mental anguish, loss of enjoyment of
         life, and other non-pecuniary losses);

      d) Exemplary damages;

      e) Costs of suit as well as prejudgment and post-judgment interest at the
         maximum amount allowed by law; and

      f) All such other and further relief to which he may be justly entitled.

                                              Respectfully Submitted,

                                              THE SERGIO S. GARZA LAW FIRM,
                                              P.L.L.C.

                                              /s/ Sersio S. Garza
                                              SERGIO S. GAEZA
                                              State Bar No. 24105988
                                              809 E. Esperanza Ave., Ste. A
                                              McAllen, Texas 78501
                                              Tel.: (956)998-3400
                                              office@sergio.law

                                              COUNSEL FOR PLAINTIFF

Dated: March 24, 2022

                                     Page 5 of 5
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                                                                                                             Electronically Submitted
                                                                                                                3/25/2022 11:46 AM
                                                                                                                Hidalgo County Clerk
                                                                                                 Accepted by: Reyna De La Garza
                                             CAUSE NO. CL-22-0951-I
THE STATE OF TEXAS
COUNTY OF HIDALGO


 NOTICE TO DEFENDANT: "You have been sued. You may employ an attorney. If you or your attorney do not file
a written answer with the clerk who issued this citation by 10:00 a.m. on the Monday next following the expiration of
twenty (20) days after you were served this citation and petition, a default judgment may be taken against you."

     To: PETM, LLC
          MAY BE SERVED BY ITS REGISTERED AGENT:
          CT CORPORATION SYSTEM,
          1999 BRYAN ST. SUITE 900,
             DALLAS TEXAS, 75201


GREETINGS: You are commanded to appear by filing a written answer to the Plaintiffs petition at or before 10
o'clock A.M. on or before the Monday next after the expiration of twenty (20) days after the date of service hereof,
before the Honorable County Court At Law #9 of Hidalgo County, Texas, by and through the Hidalgo County Clerk at
100 N. Closner, First Floor, Edinburg, Texas 78539. In addition to filing a written answer with the clerk, you may be
required to make initial disclosures to the other parties of this suit. These disclosures generally must be made no later
than 30 days after you file your answer with the clerk. Find out more at TexasLawHelp.org.

Said Plaintiffs Petition was filed in said Court, on the 24th day of March, 2022 in this Cause Numbered CL-22-0951-I
on the docket of said Court, and styled,

                                                   JOSE GARZA
                                                          vs.
                                                    PETRI, LLC

The nature of Plaintiff s demand is fully shown by a true and correct copy of Plaintiff s Original Petition accompanying
this Citation and made a part hereof.

NAME & ADDRESS OF ATTORNEY FOR PLAINTIFF:
  SERGIO S GARZA
  809 E ESPERANZA AVE STE A
  MCALLEN TX 78501
  (956)998-3400

The officer executing this citation shall promptly serve the same according to requirements of law, and the mandates
hereof, and make due return as the law directs.

ISSUED AND GIVEN UNDER MY HAND AND SEAL OF SAID COURT, at Edinburg, Texas this 25th day of
March, 2022.

                                                           ARTURO GUAJARDO, JR.
                                     ^T^                   COUNTY CLERK, HIDALGO COUNTY, TEXAS
                                     i^%                   100N.CLOSNER
                                                           EDDSTBURG, TEXAS 78539
                                                           COUNTY COURT AT LAW #9
                                        "^'^^
                                         '«X»li(t<
                                                         BY     <lA.ry[V IA^ L^ [yuo^^
                                                                            REYNA DE LA GARZA
          Case 7:22-cv-00126 Document 1 Filed on 04/18/22 in TXSD Page 13 of 23
                                                                                                                          Electronically Submitted
                                                                                                                             3/25/2022 11:46 AM
                                                                                                                             Hidalgo County Clerk
                                                                                                            Accepted by: Reyna De La Garza

SHERIFF'S/CONSTABLE'S/CIVIL PROCESS

SHERIFF'S RETURN
          Came to hand on the              day of                                   ,20       , at             o'clock
M., by Deputy (Sheriff/ConstabIe)/Civil Process Server and to-wit the following:

DEFENDANT SERVED

        Service was EXECUTED on the above referenced Defendant, in person, in Hidalgo County, Texas and served with
a tme copy of this Citation, with the date of delivery endorsed thereon, together with the accompanying copy of the
Plaintiffs Petition, at the following
Date, time, and place, to-wit:

         NAME                               DATE                 TIME              PLACE


         By:                                                                By:
                   CIVIL PROCESS SERVER                                              DEPUTY SHERIFF/CONSTABLE

DEFENDANT NOT SERVED
         Service was ATTEMPTED at the above address on the above referenced Defendant on the following date(s) and
time(s), but to no avail:

         NAME                            DATE                   TIME                 PLACE

         NAME                            DATE                   TIME                 PLACE

         NAME                            DATE                   TIME                 PLACE


         By;.                                                     By:
                  CIVIL PROCESS SERVER                                      DEPUTY SHERIFF/CONSTABLE


                            COMPLETE IF YOU ARE A PERSON OTHER THAN A SHERIFF,
                                   CONSTABLE OR CLERK OF THE COURT
In accordance to mle 107, the officer or authorized person who serves or attempts to serve a citation must sign the return. If
the return is signed by a person other than a sheriff, constable or the clerk of the court, the return must either be verified or be
signed under the penalty of perjury. A return signed under penalty of perjury must contain the statement below in
substantially the following form:

"My name is                                     _, my date of birth is                       _and my address is

                                           . I declare under penalty of perjury that the foregoing is true and correct

EXECUTED in                        County, state of Texas, on the _ day of_, 20_.



DECLARANT


If Certified by the Supreme Court of Texas
Date of Expiration /SCH Number
    Case 7:22-cv-00126 Document 1 Filed on 04/18/22 in TXSD Page 14 of 23


®. CT Corporation                                                                                   Service of Process
                                                                                                    Transmittal
                                                                                                    03/25/2022
                                                                                                    CT Log Number 541291064
   TO: Brandon Poh'tz
                Brown & Root Industrial Services, Inc.
               260b"CITIPLACECf'STE'500'"""
               BATON ROUGE, LA 70808-2720

                Process Served in Texas

   FOR: PETRIN LLC (Domestic State: LA)




                 ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTOIIY AGENT OF THE ABOVE CONPANY AS FOLLONfSs

   TFTLE OF ACTION:                                 Re: Jose Garza // To: PETRIN LLC
   DOCUMENTS) SERVED!
   COURT/AOENCY!                                   None Specified
                                                   Case#CL220951l
   NATURE OF ACTION;                                Personal Injury - Failure to Maintain Premises in a Safe Condition
   ON WHON PROCESS WAS SERVEDl                      C T Corporation System, Dallas, TX
   BATE AND HOUR OF 8BRVICE;                       By Process Server on 03/25/2022 at 14:47
   JURISDICTION SERVED !                           Texas
   APPEARANCE OR ANSWER DUE!                        None Spedfled
   ATTORNEY(S) / »ENDER<8):                        None Specified
   ACTION                                          SOP Papers with Transmittal, via UPS Next Day Air
                                                   Image SOP
                                                   Email Notification, Antoinette Nowacki antoinette.nowacki@brownandroot.com
                                                   Email Notification, Brandon Polite brandon.politz@brownandroot.com
                                                   Email Notification, KELLI CROPPER kelli.cropper®brownandroot.com

   REOISTERED AGENT ADDRESSl                       C T Corporation System
                                                   1999 Bryan Street
                                                   Suite 900
                                                   Dallas, TX 75201
                                                   866-203-1500
                                                   DealTeam®wolterskluwer. com
   The Information contained fn this Transmlttal fs provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
   relied on, as to the nature of action, the amount of damages, the answer date, or any other Infonnatton contained In the Included documents. Tfte reclplent(s)
   of this form Is responsible for reviewing and Interpreting the Included docunents and taking appropriate action, Including consulting with Its legal and other
   advbore as necessary. CT disclaims all liability for the Information contained In this form. Including for any omlsstons or Inaccurades that may be contained
   therein.




                                                                                                   Page 1 of 1 /SB
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                                                             ^< Walters Kluwer

                          PROCESS SERVER DELIVERY DETAILS




Date:                       Fri, Mar 25, 2022

Server Name:                Maurido Segovia




Entity Served               PETRIN LLC

Case Number                 CL-22-0951-1

Jurisdiction                TX
      Case 7:22-cv-00126 Document 1 Filed on 04/18/22 in TXSD Page 16 of 23




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                                    McALLEN DIVISION


JOSE GARZA                                   §
       Plaintiff,                            §
                                             §   CIVIL ACTION NO.
vs.                                          §
                                             §
PETRI, LLC,                                  §
    Defendant.                               §

                           NOTICE TO THE PLAINTIFF OF
                          FILING OF NOTICE OF REMOVAL


TO: JOSE GARZA,
     Plaintiff and his attorneys:

       Sergio S. Garza
       THE SERGIO S. GARZA LAW FIRM, P.L.L.C.
       809 E. Esperanza Ave., Suite A
       McAllen, Texas 78501


       PURSUANT to Title 28 U.S.C., Section 1446(d), as amended, you are hereby notified

that on the 18 day of April 2022, in the above styled and numbered cause (being
Cause Number CL-22-0951-I in the County Court at Law No. 9 of Hidalgo County, Texas),

Petri, LLC filed its Notice of Removal in the United States District Court for the Southern

District of Texas, IS/tcAllen Division. Copies of such Notice and other papers so filed are

attached hereto.




                                         Page 1
      Case 7:22-cv-00126 Document 1 Filed on 04/18/22 in TXSD Page 17 of 23




                                           Respectfully submitted,

                                           ROERIG, OLIVEIRA & FISHER, L.L.P.
                                           855 W. Price Road, Suite 9
                                           Brownsville, Texas 78520
                                           TEL/ (956) 542-5666
                                           FAX/(956) 542-0016


                                           By:        /s/ D. Alan Erwin, Jr.
                                                  D. ALAN ERWIN, JR.
                                                  State Bar No. 06653020
                                                  Federal I.D. No. 20471
                                                  Email: aerwin@rofllp.com
                                                  RANDALL GOMEZ
                                                  Texas State Bar No. 24087599
                                                  Federal I.D. No. 3307537
                                                  Email: rgomez(S)rofllp.com
                                                  JOHN DANIEL "J.D." VELA
                                                  Texas State Bar No. 24096635
                                                  Federal I.D. No. 3307542
                                                  Email: idvela(a)jofllp.com
                                                  Email: nancyg(%rofllp.com
                                                  ATTORNEY FOR DEFENDANT

                              CERTIFICATE OF SERVICE
       I hereby certify that on the 18th day of April , 2022, a tme and correct copy of the
foregoing document has been electronically filed and forwarded to all counsel of record in
accordance with the Texas Rules of Civil Procedure.

                                       Sergio S. Garza
                                  Email: office(%sergio.law
                     THE SERGIO S. GARZA LAW FIRM, P.L.L.C.
                            809 E. Esperanza Ave., Suite A
                               McAllen, Texas 78501

                                                      /s/ D. Alan Er-win. Jr.
                                                  D. ALAN ERWIN, JR.
                                                  Attorney at Law




                                           Page 2
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTMCT OF TEXAS
                                  McALLEN DIVISION


JOSE GARZA                                        §
       Plaintiff,                                 §
                                                  §    CIVIL ACTION NO.
vs.                                               §
                                                  §
PETRI, LLC,                                       §
        Defendant.                                §

                          NOTICE TO THE DISTRICT CLERK OF
                           FILING OF NOTICE OF REMOVAL


TO: HONORABLE LAURA HINOJOSA
     Hidalgo County District Clerk
     Hidalgo County Courthouse
     lOON.Closner
     Edinburg, Texas 78539


        You will please take notice that Defendants Shane M. Pearson and Truckstar Inc. have filed

in the United States District Court for the Southern District of Texas, McAllen Division, a notice of

removal of the cause styled: Jose Garza v. Petri, LLC, originally filed in the County Court at Law

No. 9 of Hidalgo County, Texas, Cause No. CL-22-0951 -I, to the United States District Court for the

Southern District of Texas, McAllen Division, and that a true and correct copy of said Notice of

Removal is being filed with the Clerk of the County Court at Law No. 9 to thereby effect a removal

to said District Court of the United States, and that the State Court shall proceed no further, unless

the cause is remanded. A copy of said notice of removal is attached to this notice.

       WITNESS the signature of Defendant, through its attorney, on this the 18th day of
 April , 2022.


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                                           Respectfully submitted,

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                                          By:         /s/ D. Alan Erwin, Jr.
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                                                 ATTORNEY FOR DEFENDANT

                              CERTIFICATE OF SERVICE
       I hereby certify that on the 18' day of April , 2022, a true and correct copy of the
foregoing document has been electronically filed and forwarded to all counsel of record in
accordance with the Texas Rules of Civil Procedure.

                                      Sergio S. Garza
                                 Email: office@sergio.law
                     THE SERGIO S. GARZA LAW FIRM, P.L.L.C.
                            809 E. EsperanzaAve., Suite A
                                   McAllen, Texas 78501

                                                      /s/ D. Alan Erwin, Jr.
                                                 D. ALAN ERWIN, JR.
                                                 Attorney at Law




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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                               McALLEN DIVISION


JOSE GARZA                                  §
      Plaintiff,                            §
                                            §      CIVIL ACTION NO.
vs.                                         §
                                            §
PETM, LLC,                                  §
    Defendant.                              §

                                 INDEX OF ATTORNEYS


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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTMCT OF TEXAS
                                  McALLEN DIVISION


JOSE GARZA                                   §
      Plaintiff,                             §
                                             §     CIVIL ACTION NO.
vs.                                          §
                                             §
PETRI, LLC,                                  §
    Defendant.                               §

                            INDEX OF DOCUMENTS FILED

1.     Civil Cover Sheet

2.    Notice of Removal with following attachments:

      a. State Court's Docket Sheet
      b. Plaintiffs Original Petition
      c. Citation - Executed Service to Petri, LLC
      d. Notice of Service to Petri, LLC

3.    Notice to Plaintiff of Filing of Notice of Removal

4.    Notice to District Clerk of Filing Notice of Removal

5.    Index of Attorneys

6.    Index of Documents Filed

7.    Order for Conference and Disclosure of Interested Parties




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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTMCT OF TEXAS
                                 McALLEN DIVISION


JOSE GARZA,                                     §
      Plaintiff,                                §
                                                §    CIVIL ACTION NO.
vs.                                             §
                                                §
PETRI, LLC,                                     §
    Defendant                                   §

     ORDER FOR CONFERENCE AND DISCLOSURE OF INTERESTED PARTIES


1. Counsel shall appear for an initial pretrial and scheduling conference before

              U.S.Judge
           on                          _, 2022,at            o'clock               .m.
                            at the United States District Courthouse
                                        McAllen, Texas
                     (conference may be held telephonically if requested)

2.    Counsel shall prepare and file with the clerk within fifteen days from receipt of this order
      a certificate listing all persons, associations of persons, firms, partnerships, corporations,
      affiliates, parent colorations, or other entities that are financially interested in the
      outcome of this litigation. If group can be specified by a general description, individual
      listing is not necessary. Underline the name of each corporation whose securities are
      publicly traded. If new parties are added or if additional persons or entities that are
      financially interested in the outcome of the litigation are identified at any time during the
      pending of this litigation, then each counsel shall promptly file an amended certificate
      with the clerk.

3.    Fed. R. Civ. P. 4(m) requires defendant(s) to be served within 120 days after the filing of
      the complaint. The failure ofplaintiff(s) to file proof of service within 120 days after the
      filing of the complaint may result in dismissal of this action by the court on its own
      initiative.




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4. After the parties meet as required by Fed. R. Civ. P. 26(f), counsel shall prepare and file
        not less than 10 days before the conference, a joint report of meeting and joint
        discovery/case management plan containing the information required on the attached
       form.


5. The Court will enter a scheduling order and may rule on any pending motions at the
       conference.

6. Counsel who flle(s) or remove(s) an action is responsible for providing the other parties
      with a copy of this order and in addition must serve a copy of this order with the
      summons and complaint or with the notice of removal.

7. Attendance by an attorney who has authority to bind the party is required at the
       conference.

8. Counsel shall discuss with their clients and each other whether alternative dispute
      resolution is appropriate and at the conference shall advise the Court of the results of
       their discussions.

9. A person litigating prose is bound by the requirements imposed upon counsel in this
       Order.

10. Failure to comply with this order may result in sanctions, including dismissal of the
       action and assessment of fees and costs.




                                   By Order of the Court



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